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EXHIBIT "H"
                Case 3:17-cv-06748-WHO Document 1-9 Filed 11/22/17 Page 2 of 3
                                                                                                                                                                    111111111 111
                                                                                                                                                111111111111111111111111111
                                                                                                                                                11111111111111111
                                                                                                                                                         LUODOUVL
                                                                                                                                                          LUO.DOUVL
 ATTORNEY
 ATTORNEYOR
          ORPARTY
            PARTYVVITHOUT
                  WITHOUT ATTORNEY
                          ATTORNEY (Name,
                                   (Name, State Elm number,
                                                    number,end
                                                            endaddress):
                                                                address):                                                           FOR COLA...........
                                                                                                                                    FORCOUh.  .-... .....,     •    -
  LawrenceA.A.Organ
  Lawrence     Organ( SBN
                       ( SBN175503)
                              175503)
— California Civil Rights
                   RightsLaw
                          LawGroup
                               Group. .
      SanAnselmo
  332 San  AnselmoAvenue
                     Avenue
  San Anselmo,
  San  Anselmo,CACA94960
                     94960
            TELEPHONE NO.:
                      NO.:        (415) 453-4740              FM
                                                              F AXNO.
                                                                   NO.(005orlal):
                                                                       (0Plional):
                                                                                                                                      FILED
                                                                                                                                ALAMEDA COUNTY
                                                                                                                                ALAMEDA COUNTY
 E—MAIL
 E—MAIL ADDRESS
        ADDRESS (Optional):
                (Optional):
    ATTORNEY
    ATTORNEY FOR (Name):
                 (Name):          Plaintiffs                            •
                   CALIFORNIA, COUNTY
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF
                                      OF                           Alameda                                                                NOV   11 4 2017
       STREET ADDRESS.            1225 Fallon Street                                                                  CLERK F THE SU ER:OR COUF
     MAILING
     MAILING ADDRESS:
             ADDRESS:                                                                                                 By
     CITY AND
          AND ZIP CODE:           Oakland, CA 94612                                                                                         6 epu
                                                                                                                                              6 I) 7
          BRANCH
          BRANCH NAME:
                 NAME:            Unlimited                                                                      —
     PLAINTIFF/PETITIONER:
     PLAINTIFF/PETITIONER:                Demitric Di-az, et al.                                                     CASE NUNS:IER:
                                                                                                                          NUNS2ER:

                                                                                                                     •                RG17878854
DEFENDANT/RESPONDENT:
DEFENDANT/RESPONDENT:                     Tesla, Inc., et al.
                                                                                                                  Ref. No.
                                                                                                                       No. or
                                                                                                                           orFile
                                                                                                                              FileNo,:
                                                                                                                                   No.:
                                     PROOF OF SERVICE OF SUMMONS

                                                   (Separate  proofofof
                                                   (Separate proof      service
                                                                     service     is required
                                                                             is required      for each
                                                                                         for each party party served.)
                                                                                                        served.)
        the time
1. At the    timeofofservice
                      serviceI was
                               I was
                                   at at least
                                      least 18 18 years
                                               years     of age
                                                     of age and and
                                                                not anot a party
                                                                      party to thistoaction.
                                                                                      this action.
2. I served    copiesof.of.
     served copies
      a. El summons
      a.    summons
      b.
      b.             complaint
                     complaint
      c. rt - ' '
      c.           Alternative
                Alternative    Dispute
                            Dispute    Resolution
                                    Resolution    (ADR)
                                               (ADR)    package
                                                     package
      d. 1.71 Civil
              Civil Case
                    CaseCover  Sheet (served
                         CoverSheet  (served inincomplex
                                                  complex  cases
                                                         cases only)only)
      e. 0
      e.   cross-complaint
         0 cross-complaint
      f. Eiother(specify
           other (specifydocuments):
                           documents):                      Notice of Assignment; Notice of CMC and Order
             served (specify
       Partyserved
 3. a. Party                  nameof of
                    (specify name       party
                                     party as as shown
                                              shown     on documents
                                                    on documents       served):
                                                                 served):
           CHARTWELL STAFFING SERVICES, INC.

      b. =I Person  (otherthan
            Person (other  thanthe
                                theparty
                                    partyinin  item
                                            item  3a)3a) served
                                                      served     on behalf
                                                              on behalf of anofentity
                                                                                an entity
                                                                                      or asor
                                                                                           anas an authorized
                                                                                              authorized          agentnot
                                                                                                         agent (and       (and not a person
                                                                                                                            a person
                under item
                under  item5b
                            5bon
                               onwhom
                                   whomsubstituted
                                          substituted   service
                                                     service was was made) (specify
                                                                 made)       (specify name
                                                                                       name and relationship
                                                                                                 relationshiptotothethe party
                                                                                                                      party   named
                                                                                                                            named      in item
                                                                                                                                  in item   3a): 3a):
                     ERIN UPCHURCH- Regstered Agent for Service of Process
    Addresswhere
 4. Address wherethe
                   theparty
                        party was
                            was    served:
                                served:
      13251 STREET STE. 1550, SACRAMENTO CA 95814
 5. I served       party (check
              theparty
      served the                 properbox)
                         (check proper    box)
    a            by personal   service.
                               service.  II personally
                                              personallydelivered
                                                          delivered the documents
                                                                         documentslisted
                                                                                    listed
                                                                                         in in item
                                                                                            item  2 to2the
                                                                                                        to the
                                                                                                            partyparty or person
                                                                                                                  or person      authorized
                                                                                                                            authorized to   to
                 receiveservice
                 receive  serviceofofprocess
                                       processfor for
                                                   thethe party
                                                       party     (1) on (date):
                                                             (1) on     (date):                                at (time):
                                                                                                           (2) at  (time):
      b      =I by substituted
             E:1                   service. On
                   by substituted service.        (date): 11/13/2017 et
                                              On (date):                           (time): 1:25PM I left the documents
                                                                               et (time):                        documentslisted
                                                                                                                            listedininitem
                                                                                                                                         item 2 with
                                                                                                                                            2 with or or
                      the presence
                   in the presenceofof (name  andtitle
                                       (name and            relationshiptotoperson
                                                   title or relationship     person     indicated
                                                                                     indicated      in item
                                                                                               in item   3): 3):
                        Mary Mcintyre- Agent and Person in Charge
                        (1) E]
                            ED (business) aaperson     least18
                                             person at least 18years
                                                                yearsofofage
                                                                           age apparently
                                                                             apparently     in charge
                                                                                        in charge      at office
                                                                                                  at the  the office  or usual
                                                                                                                 or usual place place of business
                                                                                                                                of business
                                             the person
                                          of the persontotobebeserved.
                                                                 served.  I Informed
                                                                       I Informed himhim or her
                                                                                      or her     of the
                                                                                             of the     general
                                                                                                    general     nature
                                                                                                            nature of theofpapers.
                                                                                                                            the papers.
                                                                                                                                             •
                        (2) ED (home) a competent
                        (2)              competentmember
                                                       memberofofthe   thehousehold
                                                                           household(at(at least
                                                                                         least  1818 years
                                                                                                   years  of of age)
                                                                                                                 age)atatthe
                                                                                                                          the dwelling houseororusual
                                                                                                                              dwelling house      usual
                                  placeofofabode
                                  place     abodeofofthe
                                                       theparty.
                                                            party.  I informed
                                                                 I informed  himhim
                                                                                  or or
                                                                                     herher  of the
                                                                                         of the     general
                                                                                                 general     nature
                                                                                                         nature      ofpapers.
                                                                                                                of the  the papers.
                        (3)1-7 (physical
                               (physicaladdress
                                         addressunknown)
                                                 unknown)a aperson
                                                             personatatleast
                                                                         least1818years
                                                                                    yearsofof age
                                                                                               ageapparently
                                                                                                   apparently in charge
                                                                                                                 chargeatatthe
                                                                                                                            theusual
                                                                                                                                usual mailing
                                                                                                                                     mailing
                                          addressofofthe
                                          address      theperson
                                                            person
                                                                 to to
                                                                    be be served,
                                                                       served, otherother
                                                                                       thanthan a United
                                                                                            a United StatesStates
                                                                                                            PostalPostal
                                                                                                                   ServiceService  postbox.
                                                                                                                           post office  office  box. I informed
                                                                                                                                            I informed
                                              or her
                                          him or  her of
                                                      ofthe
                                                          thegeneral
                                                              generalnature
                                                                       natureofofthethe papers.
                                                                                      papers.
                            Q I thereafter
                        (4) Q
                        (4)                 mailed
                                    I thereafter    (by(by
                                                 mailed first-class,
                                                            first-class,postage
                                                                           postage prepaid)
                                                                                      prepaid)copies
                                                                                               copies ofof the documentsto to the
                                                                                                           the documents       theperson
                                                                                                                                    person totobebeserved
                                                                                                                                                     served
                                        theplace
                                    at the  placewhere
                                                  wherethethe  copies
                                                            copies  werewere   left (Code
                                                                          left (Code   Civ. Civ. Proc.,
                                                                                                 Proc.,§§ 4152(4. IImailed
                                                                                                                     mailed the documentsonon
                                                                                                                            the documents
                                   (date):
                                   (date):                 from (city):
                                                           from   (city):                                  or 12)
                                                                                                           or 12Jaadeclaration
                                                                                                                    declarationofofmailing
                                                                                                                                     mailing   is attached.
                                                                                                                                           is attached.
                         (5) 1:::1
                             0I attach
                                   Iattacha adeclaration
                                              declarationof
                                                          of diligence statingactions
                                                             diligence stating actions taken
                                                                                         takenfirst
                                                                                                firsttotoattempt  personalservice.
                                                                                                          attempt personal  service.
                                                                                                                                                                      Page 1 of
                                                                                                                                                                             of 22
   Form
   Form Adopted
        AdoptedforforMandatory
                      Mandatory   Use
                                    Use                                                                                                          Coda
                                                                                                                                                 Coda of
                                                                                                                                                      ofCivil  Procedure, 5 417.10
                                                                                                                                                         CivilProcedure,
     Judicial
     JudicialCouncil
              CouncilofofCalifornia
                          California
                                                               PROOF OF SERVICE OF SUMMONS
   POS-010 1Rov. January
                    Januar).1.20071
                                1.20071
11
                  Case 3:17-cv-06748-WHO Document 1-9 Filed 11/22/17 Page 3 of 3

        PLAINTIFFIPETITIONER:
        PLAINTIFFIPETITIONER:          Demitric
                                       Demitric Di-az,
                                                Di-az, et al.                                                  CASE NUMBER:
                                                                                                                    NUMBER:

                                                                                                                              RG17878854
 -DEFENDANTIRESPONDENT.
  -
  DEFENDANT/RESPONDENT.                         Inc., et al.
                                         Tesla, Inc.,

 5      c.              by
                        by mail
                           mailand
                                andacknowledgment
                                    acknowledgment       of of
                                                            receipt of service.
                                                               receipt           I mailed
                                                                        of service.        the documents
                                                                                     I mailed            listed listed
                                                                                                the documents   in itemin2 item
                                                                                                                           to the2party,
                                                                                                                                   to thetoparty,
                                                                                                                                            the to the
                        address
                        addressshown
                                shownininitem
                                           item4,4,byby
                                                      first-class mail,mail,
                                                         first-class    postage   prepaid,
                                                                             postage  prepaid,
                        (1) on
                            on (date):                                                   (2) from
                                                                                             from (city):
                        (3)         with
                                    withtwo
                                          twocopies
                                              copiesofofthethe Notice and Acknowledgment of Receipt and          postage-paid return envelope
                                                                                                          and aa postage-paid          envelopeaddressed
                                                                                                                                                 addressed
                                    to
                                    to me.   (Attach completed
                                       me. (Attach   completed Notice
                                                                   Noticeand
                                                                           andAcknowledgement
                                                                                Acknowledgement   of of
                                                                                                     Receipt.) (Code
                                                                                                        Receipt.)     Civ.Civ.
                                                                                                                  (Code    Proc., § 415.30.)
                                                                                                                               Proc., § 415.30.)
                        (4) I:=1 to
                                 to an
                                     anaddress
                                         addressoutside
                                                   outsideCalifornia  withwith
                                                              California   return receipt
                                                                               return     requested.
                                                                                      receipt         (Code(Code
                                                                                              requested.    Civ. Proc., § 415.40.)
                                                                                                                   Civ. Proc., § 415.40.)

        d. Q by
             by other
                othermeans
                      means (specify means of service and authorizing code section):



             El Additional
                Additionalpage
                           pagedescribing
                                describingservice is attached.
                                            service   is attached.

 6. The "Notice
        "Noticetotothe
                     thePerson
                           PersonServed"
                                    Served" (on(on
                                                thethesummons)
                                                         summons) waswas
                                                                       completed  as follows:
                                                                           completed   as follows:
     a.         as anan individual
                         individualdefendant.
                                      defendant.
     b. I—I asasthe theperson
                          person sued
                                   sued under
                                        underthe  thefictitious name
                                                       fictitious     of of (specify):
                                                                   name
     c.         as occupant.
                     occupant.
     d.         On behalf                       CHARTWELL STAFFING
                     behalfofof (specify): CHARTWELL                    STAFFING SERVICES,
                                                                                         SERVICES, INC.
                under
                underthe  thefollowing
                               followingCode
                                          Code  of of
                                                   Civil Procedure
                                                      Civil          section:
                                                             Procedure   section:
                            El
                            El 416.10 (corporation)
                                           (corporation)                              CI 415.95 (business
                                                                                                 (businessorganization,  form
                                                                                                              organization,    unknown)
                                                                                                                            form unknown)
                            1:::1
                            1:::1 416.20
                                   416.20 (defunct
                                           (defunctcorporation)
                                                       corporation)                    CI416.60
                                                                                      LI    416.60(minor)
                                                                                                    (minor)
                            E]
                            C3 416.30
                                   416.30(joint
                                           (jointstock
                                                   stockcompany/association)           EI 416.70
                                                            company/association)EI 416.70         (ward
                                                                                              (ward       or conservatee)
                                                                                                      or conservatee)                                     -rt
                                                                                                                                                          -rt
                            CI 416.40 (association or        or partnership)
                                                                partnership)          El 416.90 (authorized
                                                                                                    (authorizedperson)
                                                                                                                 person)
                            CI 416.50 (public
                                         (publicentity)
                                                     entity)                           CI 415.46 (occupant)
                                                                                                   (occupant)
                                                                                       LI other:
                                                                                          other:                                                           a
 7. Person
    Personwhowhoserved
                   servedpaperspapers
    a. Name:
    a.  Name: JohnJohn Adams-
                            Adams- Evan Allen    Allen Services
        Address: 4425
    b. Address:               Treat Blvd. #149, Concord
                     4425 Treat       Blvd.     #149,      Concord CA 94521  94521                                                                       %.<
    c. Telephone
        Telephonenumber
                      number 925-525-9062
    d. The
        The fee
              feeforforservice
                          service  was: $ 105
                                      was:    $ f'000  PO                                                                                                  0
    e. I am:
          am:
               (1) 0 not
                     not aa registered
                             registeredCalifornia
                                         California process server.
                                                      process  server.
               (2)        exempt
                          exemptfrom
                                   fromregistration
                                        registrationunder Business
                                                      under        andand
                                                             Business  Professions CodeCode
                                                                           Professions  section 22350(b).
                                                                                              section 22350(b).
               (3) VA a  registered
                         registered  California
                                      Californiaprocess
                                                  processserver.
                                                            server.
                          (i)         owner
                                      owner            employee
                                                       employeeE:1E:1independent
                                                                      independentcontractor.
                                                                                    contractor.
                          (ii)
                          (ii) Registration   No.: 1445
                                RegistrationNo.:
                              (iii)county: Sacramento
     8. 0I declare
     8.    declareunder
                   underpenalty
                         penaltyofofperjury under
                                      perjury     thethe
                                              under   lawslaws
                                                            of the
                                                                 of State of California
                                                                    the State           that the
                                                                              of California      foregoing
                                                                                               that         is true and
                                                                                                    the foregoing        correct.
                                                                                                                    is true  and correct.

                   OF

     9.
     9.[][]I Iam
               amaaCalifornia
                    Californiasheriff or marshal
                                sheriff          andand
                                         or marshal  I certify that that
                                                         I certify  the foregoing is trueisantrue an • • rect.
                                                                         the foregoing

  Date: 11/13/2017
  Date:

     John Adams                                                                                       Af
                                                                                                       t rect
                                                                                                           la .
              (NAME OF PERSON WHO SERVED PAPERS/SHERIFF
                                         PAPERS/SHERIFF OR
                                                        OR MARSHAL)
                                                           MARSHAL)                                                    (SIGNATURE )




     FOSO10 (Ray. January
                  January1,1,2007)
                              2007)                                                                                                                      Page 2 of
                                                                                                                                                                of 22
                                                            PROOF OF SERVICE OF SUMMONS
